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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS

INRE:                                           )      Chapter 7 Case
                                                )
TAROCKO GARFIELD,                               )      Case No. 11-34182
                                                )
                     Debtor.                    )      Judge Jack B. Schmetterer

                                 NOTICE OF MOTION

TO:     All Counsel of Record (See Attached Service List)

       PLEASE TAKE NOTICE that on November 14, 2011, at 10:00 a.m., I shall appear
before Judge Jack B. Schmetterer, in the Dirksen Federal Building, 219 S. Dearborn, Room
682, and then and there present the attached Motion for Relief from the Automatic
Stay, a copy of which Motion is hereby served on the attorneys of record set forth
above.

                                 PROOF OF SERVICE

I, the undersigned Attorney, certify that I served a copy of this Notice to the addresses
attached by electronic notice through ECF or by depositing the same at the u.s. Mail at
211 W. Wacker Dr., Chicago, Illinois 60606 on November            1, with roper postage
prepaid.




Kenneth R. Fiedler
Stephanie K. Nathanson
FIEDLER & NATHANSON, LTD.
211 W. Wacker Drive, Suite 1000
Chicago, Illinois 60606
(312) 263-9090
(312) 277-9099 (facsimile)
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                                       SERVICE LIST
                                   In re Tarocko Garfield
                                   Case Number: 11-34182

Shamira A. Youkhaneh
Zalutsky & Pinski
20 N. Oark Street, 6th Floor
Chicago, IL 60602
312-782-9792
Attorney for Debtor
By Electronic Notice through ECF

Sandra Levitt
20 North Clark Street, Suite 600
Chicago, IL 60602
Attorney for Debtor
By Electronic Notice through ECF

Horace Fox, Jr.
Lehman & Fox
6 E. Monroe Street
Chicago, IL 60603
312-332-5642
Bankrnptcy Trnstee
By Electronic Notice through ECF

Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604
U.S. Trnstee
By Electronic Notice through ECF

Tarocko Garfield
6810 S. Wood Street, 2nd Floor
Chicago, IL 60636
Debtor
By U.S. Mail

Atlas Acquisitions LLC
294 Union St.
Hackensack, NJ 07601
Creditor
By U.S. Mail
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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS

INRE:                                           )     Chapter 7 Case
                                                )
T AROCKO GARFIELD,                              )     Case No. 11-34182
                                                )
                     Debtor.                    )     Judge Jack B. Schmetterer

               MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        NOW COME the Plaintiffs, VANESSA CHARLES, Individually and as Mother

and Next of Friend of DEMETRIOUS CHARLES, JR., a minor, and EBONY CHARLES,

by and through their attorneys, FIEDLER & NATHANSON, LTD., and seek relief from

the automatic stay and other relief specified below against Debtor, Tarocko Garfield. In

support of such motion, Vanessa Charles states:

        This a motion to obtain relief from a stay as provided in § 362 (d) of Title 11,

United States Code and Bankruptcy Rule 4001.

        Debtor commenced this case by filing a voluntary petition for relief under

Chapter 7 on August 22,2011.

        Vanessa Charles commenced an action on January 20, 2011, against Tarocko

Garfield, as well as other defendants, in the Circuit Court of Cook County in Illinois,

Gase number 11 L 739. Said action remains pending. In the action, Vanessa Charles seeks

damages in a civil personal injury lawsuit against Tarocko Garfield generally for

damages related to an automobile accident. On January 20, 2009, Tarocko Garfield

authorized and granted permission to Tamika Smith to use his vehicle. Vanessa Charles

further alleges that Tarocko Garfield owed her, Demetrious Charles, Jr., and Ebony

Charles, by and through Tamika Smith, a duty to exercise ordinary care in the


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maintenance, operation, and control of said vehicle so as to keep Vanessa Charles,

Demetrious Charles, Jr., and Ebony Charles and others free from injury. As a direct and

proximate result of one or more acts and/ or omissions committed by Tarocko Garfield,

the front of the vehicle owned by Tarocko Garfield collided with the driver's side of the

vehicle operated by Vanessa Charles, resulting in substantial injuries to Vanessa

Charles, Demetrious Charles, Jr., and Ebony Charles.

       That said action was stayed by operation of § 362 (a) of said Title 11 upon the

filing of a petition herein.

       The Debtor was insured on the date of the occurrence by the Apollo Casualty

Company per the Illinois Traffic Crash Report.

       Plaintiff seeks relief from the stay to obtain damages to be paid by the Debtor's

insurers. The debtor will suffer no prejudice by lifting the stay to allow Vanessa Charles

to proceed against the debtor to obtain a judgment to be paid from its insurers.

Suspending a stay is appropriate where all the plaintiff seeks is a declaration of liability

with no monetary consequences for the debtor, as oppose to its insurer. Matter of

Fernstrom Storage and Van Company, 938 F.2d 731, 735 (7th Cir. 1991); See Matter of

Holtkamp, 669 F.2d 505, 508-09 (7th Cir. 1982) (reasoning that allowing a personal injury

action against the debtor to proceed did not harm the debtor where the debtor's

insurance company had assumed full financial responsibility for defending that

litigation); See also Foust v. Munson 5.5. Lines, 299 U.s. 77,87 (1936) (allowing wrongful

death action against bankrupt defendant to proceed despite stay; plaintiff entitled to
                                                                                /I




maintain an action against the insurer for the amount of his judgment but not exceeding

the amount of insurer's liability to the debtor under the policy./I).
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       Vanessa Charles respectfully submits that there is cause under 11       u.s.es. § 362
(d)(l) for the automatic stay to be lifted for the purposes set forth above.

       WHEREFORE, Vanessa Charles, Individually and as Mother and Next of Friend

of Demetrious Charles, Jr, a minor, and Ebony Charles, requests relief from the

automatic stay to allow it tD continue their civil law suit against Tarocko Garfield and

for such other and further relief as is appropriate.




Kenneth R. Fiedler
Stephanie K. Nathanson
FIEDLER & NATHANSON, LTD.
211 W. Wacker Drive, Suite 1000
Chicago, Illinois 60606
(312) 263-9090




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